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6                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
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9    CHRISTINA A.,                                 Case No. 8:20-CV-02118 (VEB)

10                          Plaintiff,             JUDGMENT

11   vs.

12   KILOLO KIJAKAZI, Acting
     Commissioner of Social Security,
13
                            Defendant.
14

15         For the reasons set forth in the accompanying Decision and Order, it is hereby

16   DECREED THAT (1) Plaintiff’s request for an order remanding this case for further

17   proceedings is GRANTED and the Commissioner’s decision is REVERSED; (2) the

18   Commissioner’s request for an order affirming the Commissioner’s final decision and

19   dismissing the action is DENIED; (3) judgment is entered in Plaintiff’s favor and this

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                  JUDGMENT – CHRISTINA A. v KIJAKAZI 8:20-CV-02118-VEB
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1    matter is REMANDED for further proceedings consistent with the Decision and

2    Order; and (4) this case is CLOSED without prejudice to a timely application for

3    attorneys’ fees and costs.

4          DATED this 29th day of October 2021,

5                                      /s/Victor E. Bianchini
                                       VICTOR E. BIANCHINI
6                                  UNITED STATES MAGISTRATE JUDGE

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                  JUDGMENT – CHRISTINA A. v KIJAKAZI 8:20-CV-02118-VEB
